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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

                                                       )
 In re:                                                ) Chapter 11
                                                       )
 AEARO TECHNOLOGIES LLC,                               ) Case No. 22-02890-11
                                                       )
                               Debtors.                )
                                                       )

                 NOTICE OF ENTRY OF APPEARANCE AND REQUEST
                 FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

               PLEASE TAKE NOTICE that Faegre Drinker Biddle & Reath LLP, as counsel

to 3M Company (“3M”), pursuant to section 1109(b) of the Bankruptcy Code, Bankruptcy Rule

9010(b) and pursuant to Rule B-9010-1 of the Local Rules of the United States Bankruptcy Court

for the Southern District of Indiana, hereby enters its appearance in the above-captioned case.

Below counsel hereby requests, pursuant to Bankruptcy Rules 2002, 3017 and 9007 and sections

342 and 1109(b) of the of the Bankruptcy Code, that copies of all notices and pleadings given or

filed in these cases be served upon the undersigned at the office, postal address, telephone number,

telecopy number and email addresses listed as follows:

                              Jay Jaffe (#5037-98)
                              Faegre Drinker Biddle & Reath LLP
                              600 East 96th Street, Suite 600
                              Indianapolis, IN 46240
                              Telephone: (317) 569-4687
                              Facsimile: (317) 569-4800
                              jay.jaffe@faegredrinker.com

          PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in the

rules specified above but also includes, without limitation, any notice, application, complaint,

demand, motion, petition, pleading or request, whether formal or informal, written or oral, and
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whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise filed

or made with regard to the referenced cases and proceedings therein.

       PLEASE TAKE FURTHER NOTICE that, in accordance with Federal Rule of

Bankruptcy Procedure 3017, the foregoing request includes any disclosure statement and/or plan

of reorganization which may be filed in this case.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Entry of Appearance

nor any subsequent appearance, pleading, claim, or suit is intended or shall be deemed to waive

3M’s (i) right to have final orders in non-core matters entered only after de novo review by a higher

court; (ii) right to trial by jury in any proceeding so triable herein or in any case, controversy or

proceeding related hereto; (iii) right to have the reference withdrawn in any matter subject to

mandatory or discretionary withdrawal; or (iv) other rights, claims, actions, defenses, setoffs, or

recoupments to which 3M is or may be entitled to under agreements, in law, or in equity, all of

which rights, claims, actions, defenses, setoffs, and recoupments expressly are reserved.

                                              Respectfully submitted,

                                              FAEGRE DRINKER BIDDLE & REATH LLP


                                              /s/ Jay Jaffe
                                                 Counsel for 3M Company
 Jay Jaffe (#5037-98)
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 Indianapolis, IN 46240
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                                 CERTIFICATE OF SERVICE

         I certify that on July 26, 2022, a copy of the foregoing was filed electronically. Notice of
this filing will be sent to the following parties through the Court's Electronic Case Filing System.
Parties may access this filing through the Court's system.

Jeffrey A Hokanson jeff.hokanson@icemiller.com, bgnotices@icemiller.com,
david.young@icemiller.com

U.S. Trustee    ustpregion10.in.ecf@usdoj.gov


                                              /s/ Jay Jaffe




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